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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                      :
 EVELINA CALCANO, ON BEHALF OF
 HERSELF AND ALL OTHER PERSONS        :
 SIMILARLY SITUATED,                  :
                                      :                  No.: 1:21-cv-7147
                 Plaintiffs,          :
                                      :
                     v.               :                  NOTICE OF VOLUNTARY
                                      :                  DISMISSAL
 CODEX BEAUTY CORPORATION,            :
                                      :
                 Defendant.           :
                                      :
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       Plaintiff(s), EVELINA CALCANO, in accordance with Rule 41(a)(1)(A)(i) of the

Federal Rules of Civil Procedure, hereby dismisses the above entitled action against Defendant,

CODEX BEAUTY CORPORATION, with prejudice and without fees and costs.

Dated: New York, New York
       December 9, 2021

                                                                       GOTTLIEB & ASSOCIATES

                                                                          /s/Michael A. LaBollita, Esq.

                                                               Michael A. LaBollita, Esq., (ML-9985)
                                                                     150 East 18th Street, Suite PHR
                                                                               New York, NY 10003
                                                                             Phone: (212) 228-9795
                                                                                Fax: (212) 982-6284
                                                                             Michael@Gottlieb.legal

                                                                                Attorneys for Plaintiffs

SO ORDERED:

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United States District Court Judge
